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 8
                                 UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,           )              No. CR 05-00395 CRB
                                         )
13                       Plaintiff,      )              [PROPOSED] ORDER EXCLUDING TIME
                                         )              FROM FEBRUARY 1, 2006 TO APRIL 5,
14                       v.              )              2006 UNDER THE SPEEDY TRIAL ACT
                                         )
15   YOUNG JOON YANG, et al.             )
                                         )
16                       Defendants.     )
     ____________________________________)              No. CR 05-00447 CRB
17                                       )
     UNITED STATES OF AMERICA,           )
18                                       )
                 Plaintiff,              )
19                                       )
                 v.                      )
20                                       )
     MISUK MOORE, et al.,                )
21                                       )
                 Defendants              )
22                                       )
     ____________________________________)              No. CR 05-00613 CRB
23                                       )
     UNITED STATES OF AMERICA,           )
24                                       )
                 Plaintiff,              )
25                                       )
                 v.                      )
26                                       )
     CHANG KUN KIM,                      )
27                                       )
                 Defendant.              )
28   ____________________________________)

            On February 1, 2006, defendants in the above-captioned matter appeared, with counsel,

     ORDER
     CR 05-00395 CRB/CR 05-00447 CRB /CR 05-00613 CRB
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 1   before the Court for a status conference. Assistant United States Attorney Peter B. Axelrod
 2   appeared on behalf of the United States.
 3          The parties agreed to a continuance of the matter to April 5, 2006, and a corresponding
 4   exclusion of time under the Speedy Trial Act (18 U.S.C. § 3161) to provide defense counsel with
 5   sufficient time to obtain and review additional discovery.
 6          Accordingly, the Court HEREBY ORDERS that the time from February 1, 2006 to April
 7   5, 2006 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set forth
 8   above, the Court finds that the failure to grant the requested exclusion would deny defense
 9   counsel reasonable time necessary for effective preparation taking into account the exercise of
10   due diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
11   U.S.C. § 3161(h)(8)(B)(ii), based on the number of defendants (31 charged), the number of calls
12   on the wire (exceeding 33,000) and the fact that the vast majority of the calls are in the Korean
13   language. Thus, the Court finds that the ends of justice served by granting the requested
14   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in the
15   prompt disposition of criminal cases. The Court therefore concludes that this exclusion of time
16   should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
17   IT IS SO ORDERED.
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     DATED: February 16, 2006
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20                                                 CHARLES R. BREYER
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                                                   UNITED STATES DISTRICT
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     ORDER
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